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8                              UNITED STATES DISTRICT COURT
9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                           Case No.: 19-CR-2581 (DMS)
12                                      Plaintiff,
                                                         ORDER DENYING MOTION TO
13   v.                                                  RECONSIDER AND GRANTING
                                                         MOTION TO EXTEND SELF-
14   JOSE ANGEL MAGANA,
                                                         SURRENDER DATE
15                                    Defendant.
16
17            On October 23, 2020, Defendant Jose Angel Magana filed, under seal, a motion to
18   reconsider the four-month custodial sentence imposed, or in the alternative, to extend the
19   self-surrender date of November 6, 2020. The Government filed a response under seal. 1
20   Defendant did not file a reply. For the following reasons, Defendant’s motion to reconsider
21   the sentence is denied.
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27     On November 3, 2020, Defendant filed an opposition to the Government’s motion to
     file its response under seal. (ECF No. 80.) The Government shall file a reply on or
28   before November 10, 2020.
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1                                                I.
2                                       BACKGROUND
3          On August 8, 2019, Defendant pled guilty to bringing in unlawful alien(s) without
4    presentation, in violation of 8 U.S.C. § 1324(a)(2)(B)(iii). (ECF No 40.) On August 7,
5    2020, Defendant was sentenced to four months of imprisonment and two years of
6    supervised release. (ECF No. 69.) Defendant was ordered to self-surrender by noon on
7    November 6, 2020. (Id.)
8          Defendant now presents a letter from his doctor indicating that Defendant suffers
9    from obesity, diabetes, and hypertension. (D’s Mot. at 1.) Due to a perceived COVID-19
10   outbreak at the Metropolitan Correctional Center in San Diego (“MCC”) where he is to
11   self-surrender, Defendant now moves the Court to reconsider his sentence. (D’s Mot. at 1-
12   2.) In the alternative, Defendant moves the Court to extend his self-surrender date from
13   November 6, 2020, to March 6, 2021. (D’s Mot. at 2.)
14                                              II.
15                                        DISCUSSION
16         In general, a court may not modify a sentence of incarceration once it has been
17   imposed, unless expressly permitted by statute or Rule 35 of the Federal Rules of Criminal
18   Procedure. United States v. Penna, 319 F.3d 509, 511 (9th Cir. 2003). Defendant argues
19   that the Court should reconsider its sentence based on “newly discovered evidence” in the
20   form of a doctor’s letter indicating that Defendant suffers from obesity, diabetes, and
21   hypertension. (D’s Mot. at 1.) But the Court was already aware of Defendant’s underlying
22   health conditions and the associated COVID-19 risk at the time of sentencing. (PSR at ¶
23   43; D’s Sentencing Memorandum at 3-5.) Moreover, Defendant does not point to any
24   statute or reasoning under Rule 35 of the Federal Rules of Criminal Procedure which would
25   allow the Court to modify Defendant’s sentence. Therefore, Defendant’s motion to
26   reconsider is denied.
27         In response to Defendant’s allegations of a COVID-19 outbreak at the MCC, the
28   Government contends that at this time, only three inmates and no staff members at the

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1    MCC have tested positive for COVID-19. (Opp. at 5.) In any case, the Government does
2    not oppose Defendant’s motion to extend his self-surrender date and proposes extending it
3    to January 5, 2021. (Opp. at 7.) The Court grants Defendant’s motion to extend his self-
4    surrender date until noon on January 5, 2021.
5                                              III.
6                                CONCLUSION AND ORDER
7          For the foregoing reasons, Defendant’s motion to reconsider is DENIED and
8    Defendant’s motion to extend his self-surrender date is GRANTED. Defendant is to self-
9    surrender by noon on January 5, 2021.
10         Defendant filed an opposition to the Government’s motion to file its response under
11   seal. (ECF No. 80.) The Government shall file a reply on or before November 10, 2020.
12
13         IT IS SO ORDERED.
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15   Dated: November 5, 2020
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